                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

      RALPH F. HOLLEY                                         Case No. 12-33873-dof
      and MELONEE L. MONSON,                                  Chapter 7 Proceeding
            Debtors.                                          Hon. Daniel S. Opperman
_____________________________________/

 ORDER REGARDING DEBTORS’ EX-PARTE MOTION FOR EXPEDITED HEARING TO
           FURTHER COMPEL CHAPTER 7 TRUSTEE TO TURNOVER
         EXEMPT PROPERTY OR BE FOUND IN CONTEMPT OF COURT

         For the reasons stated in this Court’s Opinion regarding the Debtors’ Ex-Parte Motion for

Expedited Hearing to Further Compel Chapter 7 Trustee to Turnover Exempt Property or Be Found

in Contempt of Court;

         NOW, THEREFORE, IT IS HEREBY ORDERED that the Chapter 7 Trustee must pay

$8,285.67 to the Debtors on or before July 14, 2017.

         IT IS FURTHER ORDERED that the Debtors’ request for sanctions or other charges against

the Chapter 7 Trustee is denied, subject to the timely payment by the Trustee of the amount set forth

in this Order.
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Signed on June 16, 2017
                                                         /s/ Daniel S. Opperman
                                                       Daniel S. Opperman
                                                       United States Bankruptcy Judge




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